Case 2:04-cv-09049-DOC-RNB Document 2819-11 Filed 03/26/08 Page 1 of 13 Page ID
                                  #:45115
Case 2:04-cv-09049-DOC-RNB Document 2819-11 Filed 03/26/08 Page 2 of 13 Page ID
                                  #:45116
Case 2:04-cv-09049-DOC-RNB Document 2819-11 Filed 03/26/08 Page 3 of 13 Page ID
                                  #:45117
Case 2:04-cv-09049-DOC-RNB Document 2819-11 Filed 03/26/08 Page 4 of 13 Page ID
                                  #:45118
Case 2:04-cv-09049-DOC-RNB Document 2819-11 Filed 03/26/08 Page 5 of 13 Page ID
                                  #:45119
Case 2:04-cv-09049-DOC-RNB Document 2819-11 Filed 03/26/08 Page 6 of 13 Page ID
                                  #:45120
Case 2:04-cv-09049-DOC-RNB Document 2819-11 Filed 03/26/08 Page 7 of 13 Page ID
                                  #:45121
Case 2:04-cv-09049-DOC-RNB Document 2819-11 Filed 03/26/08 Page 8 of 13 Page ID
                                  #:45122
Case 2:04-cv-09049-DOC-RNB Document 2819-11 Filed 03/26/08 Page 9 of 13 Page ID
                                  #:45123
Case 2:04-cv-09049-DOC-RNB Document 2819-11 Filed 03/26/08 Page 10 of 13 Page ID
                                  #:45124
Case 2:04-cv-09049-DOC-RNB Document 2819-11 Filed 03/26/08 Page 11 of 13 Page ID
                                  #:45125
Case 2:04-cv-09049-DOC-RNB Document 2819-11 Filed 03/26/08 Page 12 of 13 Page ID
                                  #:45126
Case 2:04-cv-09049-DOC-RNB Document 2819-11 Filed 03/26/08 Page 13 of 13 Page ID
                                  #:45127
